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                    UNITED STATES DISTRICT COURT
                                                for the
                                      District of Colorado

                                                          Case No. 18-CV-01761-MSK-NYW
                 Tiffany Grays, pro se

                       Plaintiff(s)


                         -V-

        Auto Mart USA, LLC; Jorge Pacheco;
    Auto Mart USA2; Daniel Ramirez, JB Ovalle;
    Donnie McElroy; Marco Sandoval; Auto Mart;
                     Jay Barber

                      Defendant(s)


                      AMENDED NOTICE OF DEPOSITION

    TO INTERESTED PARTIES AND COUNSEL OF RECORD:
       1. PLEASE TAKE NOTICE of the attached Subpoena and Deposition to Auto Mart USA,
          LLC; Auto Mart USA2; Auto Mart, located at 835 S Havana St. Aurora, CO 80012
          TO BE TAKEN audibly and/or by video 1298 Peoria St Aurora, CO 80011; on
          OCTOBER 04, 2019 at 10:30 am MST.
          TO BE TAKEN on the following subjects: Plaintiff’s claims, Defendants defenses;
          Defendants business practices in general and specifically related to the Plaintiff; Sale
          documents in general and specifically related to the Plaintiff; Defendants employment
          practices in general and specifically related to the Plaintiff; Defendants consumer
          practices, in general and specifically related to the Plaintiff; Defendants credit practices
          in general and specifically related to the Plaintiff; and anything else related to the sale
          and eventual return of the 2013 Dodge Journey sold to the Plaintiff on or about March 17,
          2018.
       2. PLEASE TAKE NOTICE of the Deposition of; Jorge Pacheco, located at 835 S Havana
          St. Aurora, CO 80012
          TO BE TAKEN audibly and/or by video 1298 Peoria St Aurora, CO 80011; on
          OCTOBER 04, 2019 at 12:30 pm MST.


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       3. PLEASE TAKE NOTICE of the Deposition of; Donnie McElroy, located at 835 S
          Havana St. Aurora, CO 80012

          TO BE TAKEN audibly and/or by video 1298 Peoria St Aurora, CO 80011; on
          OCTOBER 04, 2019 at 12:30 pm MST.


       4. PLEASE TAKE NOTICE of the Deposition of; Jay Barber, located at 835 S Havana
          St. Aurora, CO 80012

          TO BE TAKEN audibly and/or by video 1298 Peoria St Aurora, CO 80011; on
          OCTOBER 04, 2019 at 12:30 pm MST.


       5. PLEASE TAKE NOTICE of the Deposition of; Daniel Ramirez, located at 835 S
          Havana St. Aurora, CO 80012
          TO BE TAKEN audibly and/or by video 1298 Peoria St Aurora, CO 80011; on
          OCTOBER 04, 2019 at 12:30 pm MST.


       6. PLEASE TAKE NOTICE of the Deposition of; Marco Sandoval M.D., located at 14701
          E. Exposition Ave. Aurora, CO 80012


          TO BE TAKEN audibly and/or by video 1298 Peoria St Aurora, CO 80011; on
          OCTOBER 04, 2019 at 12:30 pm MST.




                                    Respectfully Submitted,


                                                                    /s/ Tiffany Grays, pro se


                                                                              Tiffany Grays
                                                                           PO Box 472322
                                                                        Aurora, CO 80047
                                                                            (720) 623-1883
                                                                    Legalgrays@gmail.com


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                     UNITED STATES DISTRICT COURT
                                                for the
                                      District of Colorado
     Tiffany Grays, pro se                                          18-CV-01761-MSK-NYW
              v.
    Auto Mart USA LLC, et al



                          CERTIFICATE OF SERVICE
    In accordance with Federal and Local Rules, I hereby certify that on the 22nd day, of September
    2019, I have filed the foregoing with the Clerk using the CM/ECF system, which will send a true
    copy thereof to the following Auto Mart, via the CM/ECF system. All other Notices shall be
    mailed.


    DOCUMENT: AMENDED NOTICE OF DEPOSITION



              Auto Mart et al.
              C/O Michael McKinnon
              mgmckinnon@msn.com
              P: 303-438-4000




                                                                           /s/ Tiffany Grays, pro se
                                                                                     Tiffany Grays
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                                                                                Aurora CO, 80047
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